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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                                             )
Minnesota State College Student              )             Case No. 22-cv-00771-ECT-ECW
Association, Inc., d/b/a LeadMN,             )
                                             )
              Plaintiff,                     )
                                             )
       vs.                                   )
                                             )
Jay Cowles, Rudy Rodriguez, Asani            )
Ajogun, Victor Ayemobuwa, Alex Cirillo,      )        MEMORANDUM OF LAW IN
Dawn Erlandson, Jerry Janezich, Roger        )       OPPOSITION TO DEFENDANTS’
Moe, Javier Morillo, April Nishimura,        )           MOTION TO DISMISS
Oballa Oballa, Kathy Sheran, George          )
Soule, Cheryl Tefer, and Michael Vekich,     )
in their official capacities as Trustee      )
Members of the Board of Minnesota State      )
Colleges and Universities.                   )
                                             )
              Defendants.                    )
                                             )

                                   INTRODUCTION

       Defendants’ motion must be denied because their arguments are insufficient to

overcome the ample plausible allegations and claims in LeadMN’s Complaint. Seeking to

ignore the Complaint’s allegation, they improperly ask the Court to accept an alternative

narrative belatedly fabricated from whole cloth. This tactic cannot succeed.

       As the Court is well aware, the Court must “tak[e] all facts alleged in the complaint

as true, and mak[e] reasonable inferences in favor of [LeadMN,] the nonmoving party.”

Smithrud v. City of St. Paul, 746 F.3d 391, 397 (8th Cir. 2014) (citing Cent. Platte Natural

Res. Dist. v. U.S. Dep’t of Agric., 643 F.3d 1142, 1148 (8th Cir. 2011)). Ironically,

Defendants’ attempts to distract the Court from Defendants’ violations, only serve to


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accentuate their obvious violations. Defendants’ effort to preserve the unbridled discretion

wielded by the Board to withhold funding for speech merely highlights Defendants

violations.

       Defendants argue Trustees are free to ignore LeadMN’s right to free speech and the

approval of elected student government leaders representing the students who will actually

pay the fees at issue (and who then benefit from the advocacy and speech those fees would

fund). What threshold and standard do Defendants’ propose to limit their discretion?

Merely, if the Board does not “want to go along with” the speech LeadMN “intend[s] to

[fund] with the fee increase.” (Kimble Decl. Ex. 2 at 2:13:55-2:14:32.)

       In a desperate attempt to preserve their unbridled discretion, the Board insists that

this federal Court must defer to the Board’s discretion “balance[ing of] cost and noncost

factors and . . . choices among public policy alternatives,” even when such balancing never

occurred and the Board never announces what “policy alternatives” it chose or why. (Dkt

11 (“Defs Mem.”) p. 14.) Defendants likewise assert that federal and the U.S. Constitution

must yield to the Board’s discretion “when the [Board’s] finding is properly supported by

the evidence,” even when the Board made no finding whatsoever. (Id.)

       Defendants’ argument would fail as a matter of law based on the documents and

recordings submitted by Defendants with their motion. Of course, there is no basis to affirm

the Board’s unbridled discretion because of deference or otherwise. Defendants ignore that

their legislative deference argument has been soundly rejected by the Eighth Circuit twice.

See Stanley v. Magrath, 719 F.2d 279 (8th Cir. 1983); Maitland v. Univ. of Minn., 260 F.3d

959, 963 (8th Cir. 2001).


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